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 1                                                                                   Judge Leighton
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT TACOMA
 9
10    UNITED STATES OF AMERICA,                                      No. CR18-5579-RBL
11                            Plaintiff,
                                                                     NOTICE OF APPEARANCE
12                       v.                                          OF ADDITIONAL COUNSEL
13                                                                   FOR THE UNITED STATES

14    CARLOS EDUARDO LOPEZ HERNANDEZ, et al.

15                              Defendants.

16
17
18         PLEASE TAKE NOTICE that Assistant United States Attorney (“AUSA”)
19 Matthew H. Thomas appears on behalf of the United States to assist with the forfeiture in
20 this case. Going forward, please serve copies of all pleadings, court documents, and
21 correspondence on AUSA Matthew H. Thomas at:
22                    MATTHEW H. THOMAS
                      Assistant United States Attorney
23                    United States Attorney’s Office
24                    1201 Pacific Avenue, Suite 700
                      Tacoma, WA 98402-4383
25                    Telephone: (253) 428-3800
26                    Fax:        (253) 428-3826
                      E-mail: Matthew.H.Thomas@usdoj.gov
27
28
     Notice of Appearance of Additional Counsel, CR18-5579-RBL - 1         UNITED STATES ATTORNEY
                                                                           1201 PACIFIC AVENUE, SUITE 700
                                                                            TACOMA, WASHINGTON 98402
                                                                                   (253) 428-3800
             Case 3:18-cr-05579-RJB Document 540 Filed 05/10/19 Page 2 of 3




1          DATED this 10th day of May, 2019.
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3                                                   Respectfully submitted,
4                                                   BRIAN T. MORAN
                                                    United States Attorney
5
6
                                                     /s/ Matthew H. Thomas
7
                                                    MATTHEW H. THOMAS
8                                                   Assistant United States Attorney
                                                    United States Attorney’s Office
9
                                                    1201 Pacific Avenue, Suite 700
10                                                  Tacoma, WA 98402-4383
                                                    Telephone: (253) 428-3800
11
                                                    Fax:          (253) 428-3826
12                                                  E-mail: Matthew.H.Thomas@usdoj.gov
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                                                                              1201 PACIFIC AVENUE, SUITE 700
                                                                               TACOMA, WASHINGTON 98402
                                                                                      (253) 428-3800
             Case 3:18-cr-05579-RJB Document 540 Filed 05/10/19 Page 3 of 3




1                                     CERTIFICATE OF SERVICE
2
3          I hereby certify that on May 10, 2019, I electronically filed the foregoing with the
4 Clerk of the Court using the CM/ECF system, which will send notification of such filing
5 to the parties.
6
7
8                                                            /s/ Chantelle J. Smith
                                                            CHANTELLE J. SMITH
9
                                                            FSA Supervisory Paralegal, Contractor
10                                                          United States Attorney’s Office
                                                            700 Stewart Street, Suite 5220
11
                                                            Seattle, Washington 98101
12                                                          206-553-2473
                                                            Chantelle.Smith2@usdoj.gov
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27
28
     Notice of Appearance of Additional Counsel, CR18-5579-RBL - 3           UNITED STATES ATTORNEY
                                                                             1201 PACIFIC AVENUE, SUITE 700
                                                                              TACOMA, WASHINGTON 98402
                                                                                     (253) 428-3800
